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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


STACY NORRIS,

                      Plaintiff,

       v.                                                   Civil Action 2:17-cv-791
                                                            Judge Algenon L. Marbley
                                                            Magistrate Judge Jolson
GLASSDOOR, INC.,

                      Defendant.


                           REPORT AND RECOMMENDATION
                                   AND ORDER

       This matter is before the Court on Plaintiff’s Motion for Leave to File First Amended

Complaint Instanter. (Doc. 17). For the reasons that follow, that Motion is GRANTED. It is

also RECOMMENDED that Defendant’s Motion to Dismiss (Doc. 4) be DENIED AS MOOT.

  I.   BACKGROUND

       Plaintiff initiated this action on September 6, 2017, alleging a violation of the Uniformed

Services Employment and Reemployment Rights Act, of 1994 (“USERRA”) and breach of

contract against Defendant, her former employer. (Doc. 1). Shortly thereafter, Defendant filed a

Motion to Dismiss for failure to state a claim upon which relief can be granted, which was

briefed and is ripe for review. (Doc. 4). The Court then entered a scheduling order in November

2017, ordering, inter alia, that “[a]ny motion to amend the pleadings or to join additional parties

[] be filed by December 29, 2017. (Doc. 11).

       On December 28, 2017, Plaintiff filed the Motion at issue, seeking to add “a

discrimination claim under USERRA and a fraud claim.” (Doc. 17). Plaintiff avers that “[t]he
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fraud claim arises out of the same set of circumstances as the breach of contract claim.” (Id. at

3). Defendant opposed the Motion (Doc. 19), and Plaintiff filed a Reply (Doc. 22). Thus, this

matter is ripe for resolution.

 II.    STANDARD

        Rule 15(a)(2) of the Federal Rules of Civil Procedure provides that when a party seeks

leave of court to file an amended pleading, “[t]he court should freely give leave when justice so

requires.”    This rule, which allows a liberal policy in favor of granting amendments,

“reinforce[s] the principle that cases ‘should be tried on their merits rather than the technicalities

of pleadings.’” Inge v. Rock Finan. Corp., 388 F.3d 930, 936 (6th Cir. 2004) (quoting Moore v.

City of Paducah, 790 F.2d 557, 559 (6th Cir. 1986)).           Thus, the trial court enjoys broad

discretion in deciding motions for leave to amend. See Gen. Elec. Co. v. Sargent & Lundy, 916

F.2d 1119, 1130 (6th Cir. 1990). In exercising its discretion, the trial court may consider such

factors as “undue delay, bad faith or dilatory motive on the part of a movant, repeated failures to

cure deficiencies by amendments previously allowed, undue prejudice to the opposing party by

virtue of allowance of the amendment, [and] futility of the amendment.” Foman v. Davis, 371

U.S. 178, 182 (1962).

III.    DISCUSSION

        Defendant argues that Plaintiff’s Motion should be denied because amendment would be

futile, as the USERRA, breach of contract, and fraud claims fail to state a claim upon which

relief can be granted. (Doc. 19). Indeed, Defendant’s Opposition presents extensive arguments

for why it believes Plaintiff’s claim would not survive a motion to dismiss. (Id. at 6–13). While

Defendant is correct that the Court should consider potential futility, it is important to remember

that Plaintiff was within the timeframe set by this Court for amendment. Accordingly, at this



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early stage of the litigation, the Court is charged with determining simply whether the futility of

an amendment is so obvious that it should be disallowed.” Bear v. Delaware Cnty., Ohio, No.

2:14-CV-43, 2015 WL 1954451, at *3 (S.D. Ohio Apr. 28, 2015). The amended complaint here

meets this low bar. “[T]he Court believes that it’s the better exercise of discretion to permit the

amendment,” after which Defendant may raise the merits arguments presented in its Opposition

in a dispositive motion once the Amended Complaint is filed. Id. At that point, “the matter will

then be subject to proper consideration by the District Judge.” Id.

       Further, the Court notes that there is no evidence of, nor does Defendant allege, any

undue delay, bad faith or dilatory motive on the part of Plaintiff. The Court also finds that at this

stage of the litigation, Defendant will not suffer any undue prejudice by virtue of allowing the

amendment. With these factors in mind, and in light of the federal policy in favor of liberal

amendment, the Court finds amendment is proper at this time.

IV.    CONCLUSION

       For those reasons, Plaintiff’s Motion for Leave to File First Amended Complaint

Instanter (Doc. 17) is GRANTED. The Clerk is DIRECTED to file Doc. 17-1 as the Amended

Complaint. In light of this procedural posture, it is also RECOMMENDED that Defendant’s

Motion to Dismiss (Doc. 4) be DENIED AS MOOT. Defendant, of course, may file another

motion for judgment on the pleadings if it so desires.

       IT IS SO ORDERED.


Date: February 16, 2018                               /s/ Kimberly A. Jolson
                                                      KIMBERLY A. JOLSON
                                                      UNITED STATES MAGISTRATE JUDGE




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